       CASE 0:24-cv-00001-ECT-TNL                         Doc. 115-8            Filed 12/10/24         Page 1 of 2


From:               Kira Kelley
To:                 Enslin, Sharda
Cc:                 Karmen McQuitty; Robertson, Heather (she/her/hers); Sarff, Kristin; Claire Glenn
Subject:            Re: [EXTERNAL] Re: Settlement Proposal
Date:               Tuesday, November 26, 2024 10:22:40 AM
Attachments:        2024.09.13 - Sagataw et al v. Frey - Notice of 30(b)(6) deposition.docx


Hi Sharda,

I sent it to you on September 13, with the changes we'd discussed in our phone call.
Let me know if you can't find that thread and I will bump it in your inbox! I'll re-
attach the updated list here as well for your convenience.

The week of Dec 9th is pretty open for me, I'll confer with my cocounsel. Did you
have any specific days/times in mind?

Best,

Kira

____________________
Kira Kelley (they/she)
Staff Attorney
Climate Defense Project
climatedefenseproject.org




On Mon, Nov 25, 2024 at 7:18 AM Enslin, Sharda <sharda.enslin@minneapolismn.gov>
wrote:

  Hi Kira, did you ever send me an updated list of topics? What is your availability the week
  of December 9th?




  From: Kira Kelley <kira@climatedefenseproject.org>
  Sent: Thursday, November 21, 2024 5:18 PM
  To: Enslin, Sharda <sharda.enslin@minneapolismn.gov>; Karmen McQuitty
  <karmen@peopleslawmn.com>; Robertson, Heather (she/her/hers)
  <Heather.Robertson@minneapolismn.gov>; Sarff, Kristin
  <Kristin.Sarff@minneapolismn.gov>; Claire Glenn <claire@climatedefenseproject.org>
  Subject: [EXTERNAL] Re: Settlement Proposal



  Hi Sharda,




                                                                                                            Exhibit H
   CASE 0:24-cv-00001-ECT-TNL      Doc. 115-8    Filed 12/10/24   Page 2 of 2


Just wanted to follow up on this, and to check in on when the City would be
available for a deposition.


Hope you are well!



Kira



____________________
Kira Kelley (they/she)
Staff Attorney
Climate Defense Project
climatedefenseproject.org




                                                                        Exhibit H
